Case 17-31519-SLM        Doc 26    Filed 03/13/18 Entered 03/13/18 18:50:23            Desc Main
                                   Document     Page 1 of 3


                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY

In re Jacoby Adeshei Carter                          Case No.:      _17-31519 (SLM)______
                   Debtor(s)                         Judge:         _Hon. Stacey L Meisel
__________________________________

                      CERTIFICATION OF DEBTOR’S COUNSEL
                   SUPPORTING SUPPLEMENTAL CHAPTER 13 FEE


   For time incurred in Chapter 13 cases prior to August 1, 2006, for which supplemental fees
   are sought, you must utilize the alternate version of Local Form 13 as has been designated
                for that purpose on the Court’s web site: www.njb.uscourts.gov.



        _Andy Winchell__________________, Esquire, herby certifies as follows:

    1. I represented the debtor in connection with the following proceeding(s) in debtor’s
       chapter 13 case:


                                      STANDARD FEES

        _____ Prosecution of motion on behalf of debtor.                           $500.00

               Nature of motion:      _____________________________
                                      _____________________________
               Hearing date(s):       _____________________________
                                      _____________________________

        _____ Defense of motion on behalf of debtor (Including filing              $400.00
              Objection to Creditor’s or Trustee’s Certification of Default).

               Nature of motion:      _____________________________
                                      _____________________________
               Hearing date(s):       _____________________________
                                      _____________________________




                                                1
Case 17-31519-SLM         Doc 26      Filed 03/13/18 Entered 03/13/18 18:50:23                  Desc Main
                                      Document     Page 2 of 3


       _____ Additional court appearance(s). (Not to exceed three).                        $100.00

               Purpose:                  _____________________________
                                         _____________________________
               Hearing date(s):          _____________________________
                                         _____________________________

       _____ Filing and appearance on a modified Chapter 13 Plan.                          $300.00


       _____ Preparation of Wage Order                                                     $100.00


       _____ Preparation and filing of Amendments to Schedules D, E, F                     $100.00
             or List of Creditors


       _____ Preparation and filing of other amended schedules                             $100.00


       _____ Preparation and filing of Application for Retention                           $200.00
             of Professional


       _____ Preparation and filing of Notice of Sale or Settlement                        $100.00
             of Controversy

                                      NON-STANDARD FEES



     Do not combine standard and non-standard fees for the same motion or service. If you believe
     the standard fee is in appropriate for services in a particular instance, you must request only non-
     standard fees for that particular service.



        Describe non-standard services in detail, and attach a time detail (including applicable
hourly rates) as Exhibit A: Applicant filed this chapter 13 petition and plan on behalf of a Debtor
with the primary goals of preventing a foreclosure sale of Debtor’s residence and repossession of
Debtor’s automobile. Applicant received an initial retainer of $2,000 from Client. Applicant
conducted numerous detailed interviews with Client regarding document and income
requirements and the Debtor’s questions. This case involves a single Debtor who combines his
income and expenses with his partner. Applicant is requesting fees for services associated with
the preparation and filing of the Debtor’s chapter 13 petition and plan, as well as amending
Debtor’s schedules and modifying Debtor’s chapter 13 plan.

                                                     2
Case 17-31519-SLM         Doc 26     Filed 03/13/18 Entered 03/13/18 18:50:23                 Desc Main
                                     Document     Page 3 of 3




        Describe non-standard expenses in detail: Chapter 13 filing fees, and online credit
reports. _________________________________________________________________


   2. To date, in this case:
        I have applied for fees in the amount of:                                       _$0.00_____
        To date, I have received (including original retainer):                         _$2,000.00__


   3. I seek compensation for services rendered in the amount of $ _5,514.00____, the balance
      of the invoice attached hereto as Exhibit A, payable:
        __X__ through the chapter 13 plan as an administrative priority..
        _____ outside the plan.


   4.   X      This allowance will not impact on plan payments

        □      This allowance will impact on plan payments.
                       Present plan:           $___________ per month for ___________ months.
                       Proposed plan:          $___________ per month for ___________ months.


        I certify that I have not filed any fee application within the last 90 days.


        I certify under penalty of perjury that the foregoing is true and correct.



Dated: __March 13, 2018__                               __/s/ Andy Winchell_________________
                                                        Signature of applicant




                                                                                  Local Form 13.rev.8/1/06.jml




                                                    3
